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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO.: 1:23-cv-23590-DSL

   NINA QUINN-DAVIS,
   individually and on behalf of
   all those similarly situated,

           Plaintiff,
   v.

   TRUEACCORD CORP.,

         Defendant.
   ___________________________/

        [PROPOSED] ORDER GRANTING PLAINTIFF’S MOTION FOR EXTENSION OF
                 TIME TO FILE MOTION FOR CLASS CERTIFICATION
           THIS CAUSE is before the Court on Plaintiff’s Motion for Extension of Time to File

   Motion for Class Certification [DE 36]. The Court has considered the Motion and is otherwise

   fully advised in the premises. Accordingly, it is ORDERED AND ADJUDGED that the Motion

   [DE 36] is GRANTED.

           1. Plaintiff Nina Quinn-Davis is granted an extension of time through and including June

              28, 2024, to file her motion for class certification.

           2. Defendant TrueAccord Corp. is granted an extension of time through and including

              July 26, 2024, to file its response to Plaintiff’s Motion for Class Certification.

           3. The Hearing on Class Certification shall be continued to August 7, 2024.

        DONE AND ORDERED in Chambers at __________________, Florida, this _______ day

   of ________________________, 2024.

                                                 __________________________________
                                                 UNITED STATES DISTRICT JUDGE
